          Case 1:18-cr-00135-DAD-BAM Document 125 Filed 05/29/20 Page 1 of 2



 1 MONICA L. BERMUDEZ
   Attorney at Law, SBN 275434
 2 1670 M Street
   Bakersfield, CA 93301
 3 Telephone: (661) 616-2141
   Facsimile: (661) 322-7675
 4

 5 Attorney for the Defendant
   Nazem Alnajar
 6

 7                            IN THE UNITED STATES DISTRICT COURT

 8                                EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                          CASE NO. 1:18-CR-00135 DAD
11                                Plaintiff,            STIPULATION TO CONTINUE
                                                        SENTENCING HEARING;
12   v.                                                 FINDINGS AND ORDER
13   NAZEM ALNAJAR,                                     DATE: July 27, 2020
                                                        TIME: 10:00 a.m.
14                                Defendant.            JUDGE: Hon. Dale A. Drozd
15

16
                                               STIPULATION
17
            COMES NOW, Defendant, NAZEM ALNAJAR, by and through his attorney of record,
18

19 Monica L. Bermudez and The United States of America, by and through his counsel of record GRANT
20 RABENN, hereby stipulate as follows:

21          1.     By previous order, this matter was set for sentencing on June 2, 2020.
22
            2.     By this stipulation, defendants now move to continue the sentencing hearing to July
23
     27, 2020 at 10:00 a.m. before the Honorable Dale A. Drozd. The government joins in this request.
24
            3.     The parties agree and stipulate, and request that the Court find the following:
25
            a.      Mr. Alnajar’s daughter will be undergoing surgery in the next few weeks. Mr.
26

27 Alnajar will be required to provide home aftercare for his daughter. Due to this medical obligation,.

28 Mr. Alnajar request a extension of his sentencing date.
                                                     1
29

30
         Case 1:18-cr-00135-DAD-BAM Document 125 Filed 05/29/20 Page 2 of 2


          c.    The government does not object to, and agrees with, the requested continuance.
 1
     IT IS SO STIPULATED.
 2

 3 DATED: May 28, 2020

 4                                    /s/ Monica L. Bermudez
                                      MONICA L. BERMUDEZ
 5                                    Counsel for Defendant
                                      NAZEM ALNAJAR
 6

 7 DATED: May 28, 2020
                                      /s/ Grant Rabenn
 8                                    GRANT RABENN
                                      Assistant United States Attorney
 9

10
                                              ORDER
11
     IT IS SO ORDERED.
12
       Dated:   May 29, 2020
13                                                UNITED STATES DISTRICT JUDGE
14

15

16

17

18

19
20

21

22

23

24

25
26

27

28
                                                  2
29

30
